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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:peopleofthestateofcoloradovmartinezno23sc1972024co69november4,2024"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 69&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Pete Paul Martinez&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 23SC197&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 4, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="170" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="170" data-sentence-id="183" class="ldml-sentence"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals Court of Appeals&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_183" data-refglobal="case:peoplevmartinez,no19ca175" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No.19CA175&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_260" data-page_type="bare_number" data-val="2"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="260" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="260" data-sentence-id="273" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;
&lt;span class="ldml-entity"&gt;William G. Kozeliski&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;
 Denver, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="408" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="408" data-sentence-id="421" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan A. Ring&lt;/span&gt;&lt;/span&gt;, Public &lt;span class="ldml-entity"&gt;Defender M.
 Shelby&lt;/span&gt; Deeney, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt; Denver, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_537" data-page_type="bare_number" data-val="3"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="537" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="537" data-sentence-id="550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Gabriel&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in which
 Chief Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Márquez&lt;/span&gt;&lt;/span&gt;, Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Boatright&lt;/span&gt;&lt;/span&gt;, Justice
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Hood&lt;/span&gt;&lt;/span&gt;, Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Hart&lt;/span&gt;&lt;/span&gt;, Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Samour&lt;/span&gt;&lt;/span&gt;, and Justice &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;Berken Kotter&lt;/span&gt;&lt;/span&gt;
 joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (Gabriel, Márquez, Boatright, Hood, Hart, Samour, Berken Kotter, GABRIEL)"&gt;&lt;span data-paragraph-id="734" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="734" data-sentence-id="747" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="755" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="755" data-sentence-id="768" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;span class="ldml-pagenumber" data-id="pagenumber_785" data-page_type="bare_number" data-val="4"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="785" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="785" data-sentence-id="796" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_796" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to determine whether &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; testimony that
 otherwise meets the requirements of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_796" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Shreck&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;22 P.3d 68&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, is rendered
 inadmissible because the witness was not formally offered and
 accepted as an expert during their testimony; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; it is
 plain error to admit expert testimony without a formal offer
 and acceptance when the record demonstrates that the
 requirements of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_796" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; have been met.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1257" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1257" data-sentence-id="1268" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1268" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; now conclude that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; neither require
 nor prohibit a formal offer and acceptance of an expert.&lt;/span&gt;
&lt;span data-paragraph-id="1257" data-sentence-id="1391" class="ldml-sentence"&gt;Accordingly, the lack of a formal tender and acceptance of
 the expert does not alone render expert testimony
 inadmissible, and such testimony is admissible if it
 otherwise complies with the requirements of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1391" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1620" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1620" data-sentence-id="1631" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1631" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Applying these principles here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; further conclude that &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; did not err, much less plainly err, in admitting
 &lt;span class="ldml-entity"&gt;Dr. Charles Harrison&lt;/span&gt;'s testimony in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1620" data-sentence-id="1806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 therefore reverse the judgment of the division below and
 remand &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; to allow the division to address the other
 issues that &lt;span class="ldml-entity"&gt;Pete Paul Martinez&lt;/span&gt; raised and that the division,
 in light of its determination, did not reach.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="background" data-content-heading-label="
 I.
Facts and Procedural History
" data-confidences="very_high" data-parsed="true" data-id="heading_2037" data-format="upper_case_roman_numeral" data-specifier="I" data-value="I.
 Facts and Procedural History" data-ordinal_start="1" id="heading_2037" data-ordinal_end="1"&gt;&lt;span data-paragraph-id="2037" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="2037" data-sentence-id="2048" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="2037" data-sentence-id="2051" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="2080" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2080" data-sentence-id="2091" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2091" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Martinez was charged with first degree murder, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; entered
 a plea of not guilty by reason of insanity
 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"NGRI"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2080" data-sentence-id="2212" class="ldml-sentence"&gt;As required by law, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
 ordered

&lt;span class="ldml-pagenumber" data-id="pagenumber_2259" data-page_type="bare_number" data-val="5"&gt;&lt;/span&gt;
 a sanity evaluation, which was conducted by Dr. Harrison, a
 staff psychologist at the Colorado Mental Health Institute in
 Pueblo.&lt;/span&gt; &lt;span data-paragraph-id="2080" data-sentence-id="2393" class="ldml-sentence"&gt;Dr. Harrison reviewed discovery, records from the
 jail, and Martinez's mental health records, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 interviewed Martinez for three hours.&lt;/span&gt; &lt;span data-paragraph-id="2080" data-sentence-id="2534" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; then produced a
 report in which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; opined that Martinez was legally sane at
 the time of the alleged offense.&lt;/span&gt; &lt;span data-paragraph-id="2080" data-sentence-id="2648" class="ldml-sentence"&gt;The Colorado Mental Health
 Institute's superintendent sent this report to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 in &lt;span class="ldml-entity"&gt;November 2017&lt;/span&gt;, over a year before trial, and the report
 was apparently provided to &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; at or about that time.&lt;/span&gt;
&lt;span data-paragraph-id="2080" data-sentence-id="2856" class="ldml-sentence"&gt;Martinez later hired his own expert, Dr. Wells, to perform a
 second sanity evaluation.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2944" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2944" data-sentence-id="2955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2955" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In advance of trial, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; filed a supplemental witness
 list, noting which of its witnesses were experts and in what
 field.&lt;/span&gt; &lt;span data-paragraph-id="2944" data-sentence-id="3090" class="ldml-sentence"&gt;Notably, this list did not include Dr. Harrison.&lt;/span&gt;
&lt;span data-paragraph-id="2944" data-sentence-id="3139" class="ldml-sentence"&gt;Thereafter, at the final pretrial conference, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 explained that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had not endorsed Dr. Harrison as a
 witness because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; planned to call him only on rebuttal,
 and only if Martinez chose to testify and raised something
 that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; felt necessitated a response.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3419" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3419" data-sentence-id="3430" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3430" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Approximately one week later, Martinez filed an Endorsement
 of Defenses and Witnesses.&lt;/span&gt; &lt;span data-paragraph-id="3419" data-sentence-id="3522" class="ldml-sentence"&gt;In this document, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; indicated
 that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; might rely on general denial and NGRI defenses at
 trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3620" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3620" data-sentence-id="3631" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3631" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Trial subsequently commenced, and on the first day of trial,
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; argued that Martinez had failed to disclose his
 insanity defense in a timely fashion

&lt;span class="ldml-pagenumber" data-id="pagenumber_3796" data-page_type="bare_number" data-val="6"&gt;&lt;/span&gt;
 and that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had thought that Martinez had abandoned
 that defense.&lt;/span&gt; &lt;span data-paragraph-id="3620" data-sentence-id="3873" class="ldml-sentence"&gt;Now that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had endorsed the defense for trial,
 however, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; requested that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; order Martinez
 to turn over anything that his sanity expert, Dr. Wells, had
 relied on or produced, including any notes or
 &lt;span class="ldml-quotation quote"&gt;"summations"&lt;/span&gt; that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had prepared.&lt;/span&gt; &lt;span data-paragraph-id="3620" data-sentence-id="4128" class="ldml-sentence"&gt;Notably, in the
 ensuing discussion, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; referred to Dr. Harrison and
 Dr. Wells as the &lt;span class="ldml-quotation quote"&gt;"two experts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="3620" data-sentence-id="4237" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;
 ultimately ordered Martinez's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to obtain from Dr.
 Wells all documents in her file and to produce them to &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; for in camera review.&lt;/span&gt; &lt;span data-paragraph-id="3620" data-sentence-id="4394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; stated that after
 completing its review, it would determine which documents, if
 any, Martinez would need to produce to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; and also
 whether Dr. Wells would be permitted to testify.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4595" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4595" data-sentence-id="4606" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4606" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The next day, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; filed a further supplemental witness
 list, which included only Dr. Harrison.&lt;/span&gt; &lt;span data-paragraph-id="4595" data-sentence-id="4713" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had done in
 connection with the experts disclosed in their prior
 supplemental witness list, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; also filed Dr.
 Harrison's curriculum vitae.&lt;/span&gt; &lt;span data-paragraph-id="4595" data-sentence-id="4871" class="ldml-sentence"&gt;Unlike what &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had done
 with their prior supplemental witness list, however, and for
 reasons that the record does not disclose, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; did not
 specifically note that Dr. Harrison was an expert witness,
 nor did &lt;span class="ldml-entity"&gt;they&lt;/span&gt; identify a field of expertise for him.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5135" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5135" data-sentence-id="5146" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5146" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The case&lt;/span&gt; proceeded, and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; ultimately called several
 expert witnesses.&lt;/span&gt; &lt;span data-paragraph-id="5135" data-sentence-id="5229" class="ldml-sentence"&gt;For each of these witnesses, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 laid a foundation regarding the witness's qualifications
 and expertise and then expressly tendered the witness as

&lt;span class="ldml-pagenumber" data-id="pagenumber_5387" data-page_type="bare_number" data-val="7"&gt;&lt;/span&gt;
 an expert in a given field pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5135" data-sentence-id="5437" class="ldml-sentence"&gt;By way of
 example, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; tendered one of their expert witnesses,
 Dr. Caruso, and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; admitted him as an expert, as
 follows:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_5581" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="5582" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Prosecutor&lt;/span&gt;]&lt;/span&gt;: Your Honor, at this time, pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5582" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Colorado
 Rule of Evidence 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; would tender Dr. Caruso as an expert
 in forensic pathology.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_5730" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="5731" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt;: Any objection?&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_5757" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="5758" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[Defense &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;]&lt;/span&gt;: No objection.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_5791" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="5792" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt;: &lt;span class="ldml-entity"&gt;He&lt;/span&gt; may offer opinions consistent with that rule.&lt;/span&gt;
&lt;span data-sentence-id="5852" class="ldml-sentence"&gt;Ladies and gentlemen, the reference is to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5852" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Rule 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that is a
 rule of evidence that governs expert opinion testimony.&lt;/span&gt; &lt;span data-sentence-id="5971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt;
 may offer opinions consistent with the rule.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="6020" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6020" data-sentence-id="6031" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6031" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In contrast to the foregoing procedure, when &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 called Dr. Harrison, although &lt;span class="ldml-entity"&gt;they&lt;/span&gt; reviewed his
 qualifications and expertise in psychology at length, &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 did not expressly tender him as an expert.&lt;/span&gt; &lt;span data-paragraph-id="6020" data-sentence-id="6245" class="ldml-sentence"&gt;Nor did &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 expressly accept him as an expert or rule that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was
 entitled to offer opinions consistent with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6020" data-sentence-id="6371" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 People&lt;/span&gt; nonetheless proceeded as if Dr. Harrison's
 qualifications had been accepted, ultimately asking for his
 opinion as to Martinez's mental state at the time of the
 offense at issue.&lt;/span&gt; &lt;span data-paragraph-id="6020" data-sentence-id="6564" class="ldml-sentence"&gt;Dr. Harrison reiterated his view that
 Martinez was sane at the time &lt;span class="ldml-entity"&gt;he&lt;/span&gt; committed the offense.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6659" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6659" data-sentence-id="6670" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6670" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Notably, at various points throughout the trial proceedings,
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, and defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; all referred to
 Dr. Harrison as an &lt;span class="ldml-quotation quote"&gt;"expert."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6659" data-sentence-id="6826" class="ldml-sentence"&gt;In one exchange,
 defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; even referred to Dr. Harrison as &lt;span class="ldml-quotation quote"&gt;"the
 expert who's been

&lt;span class="ldml-pagenumber" data-id="pagenumber_6919" data-page_type="bare_number" data-val="8"&gt;&lt;/span&gt;
 endorsed by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; for purposes of giving expert
 opinion as to Mr. Martinez's mental state."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6659" data-sentence-id="7024" class="ldml-sentence"&gt;In
 addition, on four occasions, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; asked Dr. Harrison
 for his &lt;span class="ldml-quotation quote"&gt;"expert opinion,"&lt;/span&gt; and Dr. Harrison twice
 expressly labeled his testimony as reflecting his
 &lt;span class="ldml-quotation quote"&gt;"expert opinion"&lt;/span&gt; on a matter.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7219" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7219" data-sentence-id="7230" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7230" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Although Martinez objected to certain questions as beyond the
 scope of Dr. Harrison's expert opinion, what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had been
 endorsed to testify to, what his report discussed, or
 allowable opinion, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not object to Dr. Harrison's
 opining on Martinez's sanity, notwithstanding the lack of
 a formal offer and acceptance of Dr. Harrison as an expert.&lt;/span&gt;
&lt;span data-paragraph-id="7219" data-sentence-id="7586" class="ldml-sentence"&gt;Similarly, although &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; referred to Dr. Harrison as an
 &lt;span class="ldml-quotation quote"&gt;"expert"&lt;/span&gt; multiple times in their closing argument,
 Martinez never objected to these characterizations.&lt;/span&gt; &lt;span data-paragraph-id="7219" data-sentence-id="7753" class="ldml-sentence"&gt;And
 Martinez chose not to call his own sanity expert, Dr. Wells,
 as a witness, thus undermining any suggestion that errors in
 disclosure regarding Dr. Harrison prevented Martinez from
 calling his own expert.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7965" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7965" data-sentence-id="7976" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7976" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶13
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; jury ultimately convicted Martinez as charged, rejecting
 his NGRI defense.&lt;/span&gt; &lt;span data-paragraph-id="7965" data-sentence-id="8059" class="ldml-sentence"&gt;Martinez appealed, contending, as pertinent
 here, that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had erred by admitting Dr.
 Harrison's testimony without requiring that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; be
 formally offered and accepted as an expert witness.&lt;/span&gt;
&lt;span data-paragraph-id="7965" data-sentence-id="8262" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8059" data-refglobal="case:peoplevmartinez,no19ca175" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Martinez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No. 19CA175&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8059" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 8&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Feb. 16,
 2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7965" data-sentence-id="8317" class="ldml-sentence"&gt;A split division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; agreed and
 reversed.&lt;/span&gt; &lt;span data-paragraph-id="7965" data-sentence-id="8380" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8317" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8384" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8384" data-sentence-id="8395" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8395" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority determined that &lt;span class="ldml-quotation quote"&gt;"because Dr. Harrison was
 neither offered nor admitted as an expert witness, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was
 testifying only as a lay witness,"&lt;/span&gt; and

&lt;span class="ldml-pagenumber" data-id="pagenumber_8556" data-page_type="bare_number" data-val="9"&gt;&lt;/span&gt;
 because his testimony exceeded the scope of proper lay
 testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, his testimony was erroneously
 admitted.&lt;/span&gt; &lt;span data-paragraph-id="8384" data-sentence-id="8680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8395" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 33, 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8384" data-sentence-id="8698" class="ldml-sentence"&gt;The majority
 purported to find support for this ruling in several &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;
 from &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; discussing the requirements of expert witness
 testimony.&lt;/span&gt; &lt;span data-paragraph-id="8384" data-sentence-id="8846" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8698" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 34-44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8384" data-sentence-id="8863" class="ldml-sentence"&gt;The majority
 further concluded that reversal was required &lt;span class="ldml-quotation quote"&gt;"because
 Dr. Harrison's testimony was central to proving that
 Martinez was sane at the time of the charged crime."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="8384" data-sentence-id="9039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8863" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶ 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8384" data-sentence-id="9051" class="ldml-sentence"&gt;In light of its ruling, the
 majority did not address the remaining issues that Martinez
 had raised on appeal.&lt;/span&gt; &lt;span data-paragraph-id="8384" data-sentence-id="9163" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9051" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9167" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9167" data-sentence-id="9178" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9178" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Tow&lt;/span&gt; dissented&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="9203" class="ldml-sentence"&gt;In his view, Martinez had waived any
 objection to Dr. Harrison's testimony by not challenging
 the propriety of Dr. Harrison's offering expert opinions
 despite knowing that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had not been formally tendered as an
 expert.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="9427" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9203" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 73-79&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Tow, J.,
 dissenting)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="9467" class="ldml-sentence"&gt;Alternatively, &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Tow&lt;/span&gt;&lt;/span&gt; concluded that any
 error in admitting Dr. Harrison's testimony was not plain
 and therefore reversal was unwarranted.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="9611" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9467" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at
 ¶ 80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="9625" class="ldml-sentence"&gt;Lastly, &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Tow&lt;/span&gt;&lt;/span&gt; noted that all of &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt; on
 which the majority relied to support its view that a formal
 tender and acceptance was a prerequisite to the witness's
 testifying as an expert were distinguishable because &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 involved scenarios in which a witness was called as a fact
 witness but then gave testimony that arguably strayed into
 expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="9992" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9625" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 62-68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="10009" class="ldml-sentence"&gt;In
 contrast, &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; involved an expert witness offering
 expert testimony who simply had not been expressly tendered
 as an expert.&lt;/span&gt; &lt;span data-paragraph-id="9167" data-sentence-id="10145" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10009" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶ 69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_10158" data-page_type="bare_number" data-val="10"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="9167" data-sentence-id="10159" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Tow&lt;/span&gt;&lt;/span&gt; observed that Dr. Harrison's
 involvement in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; began when &lt;span class="ldml-entity"&gt;&lt;em class="ldml-emphasis"&gt;the court&lt;/em&gt;&lt;/span&gt;
 appointed him as an expert, and his role never changed.&lt;/span&gt;
&lt;span data-paragraph-id="9167" data-sentence-id="10312" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10159" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10316" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10316" data-sentence-id="10327" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10327" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; petitioned &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; for certiorari review, and
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted their petition.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="analysis" data-content-heading-label="
 II.
Analysis
" data-confidences="very_high" data-parsed="true" data-id="heading_10419" data-format="upper_case_roman_numeral" data-specifier="II" data-value="II.
 Analysis" data-ordinal_start="2" id="heading_10419" data-ordinal_end="2"&gt;&lt;span data-paragraph-id="10419" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="10419" data-sentence-id="10430" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="10419" data-sentence-id="10434" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="10443" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10443" data-sentence-id="10454" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10454" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by setting forth the applicable standard of review
 and the basic principles concerning expert witness testimony
 under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10454" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules of Evidence&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10443" data-sentence-id="10636" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 then address the question of whether &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;
 require expert witnesses to be formally offered and accepted
 as experts as a condition of admissibility.&lt;/span&gt; &lt;span data-paragraph-id="10443" data-sentence-id="10809" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; neither require nor prohibit such an
 offer and acceptance for expert testimony to be admissible
 and therefore, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not err, much less plainly
 err, in admitting Dr. Harrison's testimony.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="A" data-content-heading-label="
 A.
Standard of Review and Principles of Expert
 Testimony
" data-parsed="true" data-id="heading_11057" data-format="upper_case_letters" data-value="A.
 Standard of Review and Principles of Expert
 Testimony" data-ordinal_start="1" id="heading_11057" data-ordinal_end="1"&gt;&lt;span data-paragraph-id="11057" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="11057" data-sentence-id="11068" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="11057" data-sentence-id="11071" class="ldml-sentence"&gt;Standard of Review and Principles of Expert
 Testimony&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11126" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11126" data-sentence-id="11137" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11137" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whether &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires a formal offer and acceptance of an
 expert witness is a question of law that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de novo.&lt;/span&gt;
&lt;span data-paragraph-id="11126" data-sentence-id="11264" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11137" data-refglobal="case:gonzalesvpeople,2020co71" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Gonzales v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2020 CO 71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11137" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886959034" data-vids="886959034" class="ldml-reference" data-prop-ids="embeddedsentence_11324" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;471 P.3d
 1059, 1063&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The interpretation of a rule of evidence is
 a question of law, which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de novo."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11417" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11417" data-sentence-id="11428" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11428" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 CRE 702, which governs expert testimony, provides, &lt;span class="ldml-quotation quote"&gt;"If
 scientific, technical, or other specialized knowledge will
 assist the trier of fact to understand the

&lt;span class="ldml-pagenumber" data-id="pagenumber_11594" data-page_type="bare_number" data-val="11"&gt;&lt;/span&gt;
 evidence or to determine a fact in issue, a witness qualified
 as an expert by knowledge, skill, experience, training, or
 education, may testify thereto in the form of an opinion or
 otherwise."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11792" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11792" data-sentence-id="11803" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11803" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11803" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;22 P.3d at 77-79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; announced what &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 later described as a four-part test to guide &lt;span class="ldml-entity"&gt;a trial
 court&lt;/span&gt;'s exercise of discretion in considering the
 admissibility of expert testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
 the scientific principles underlying the testimony must be
 reasonably reliable; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the expert must be qualified to
 offer the testimony; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the testimony must be helpful to the
 jury; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; the evidence must satisfy &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="11792" data-sentence-id="12250" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/934164596" data-vids="934164596" class="ldml-reference" data-prop-ids="sentence_11803" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Cooper&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021 CO 69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11803" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/903166860" data-vids="903166860" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;496 P.3d
 430, 432&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;22 P.3d at 77-79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11792" data-sentence-id="12339" class="ldml-sentence"&gt;In
 addition, expert testimony in criminal &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; must comply with
 the discovery and disclosure requirements set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12339" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Crim.
 P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12475" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12475" data-sentence-id="12486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12486" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 CRE 701, in turn, governs lay opinion testimony.&lt;/span&gt; &lt;span data-paragraph-id="12475" data-sentence-id="12540" class="ldml-sentence"&gt;That rule
 provides:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_12561" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="12562" class="ldml-sentence"&gt;If the witness is not testifying as an expert, the
 witness' testimony in the form of opinions or inferences
 is limited to those opinions or inferences which are &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;
 rationally based on the perception of the witness, &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;
 helpful to a clear understanding of the witness'
 testimony or the determination of a fact in issue, and &lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;
 not based on scientific, technical, or other specialized
 knowledge within the scope of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12562" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Rule 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="12994" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="12994" data-sentence-id="12995" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="12999" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12999" data-sentence-id="13010" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13010" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_13010" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Venalonzo v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2017 CO 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13010" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_13010" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388
 P.3d 868, 873&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; provided guidance regarding how &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; are
 to distinguish lay from expert testimony:&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_13165" data-page_type="bare_number" data-val="12"&gt;&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_13165" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="13166" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;n determining whether testimony is lay testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE
 701&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or expert testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must
 look to the basis for the opinion.&lt;/span&gt; &lt;span data-sentence-id="13325" class="ldml-sentence"&gt;If the witness provides
 testimony that could be expected to be based on an ordinary
 person's experiences or knowledge, then the witness is
 offering lay testimony.&lt;/span&gt; &lt;span data-sentence-id="13491" class="ldml-sentence"&gt;If, on the other hand, the witness
 provides testimony that could not be offered without
 specialized experiences, knowledge, or training, then the
 witness is offering expert testimony.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="B" data-content-heading-label="
 B.
Offer and Acceptance of an Expert
" data-parsed="true" data-id="heading_13678" data-format="upper_case_letters" data-value="B.
 Offer and Acceptance of an Expert" data-ordinal_start="2" id="heading_13678" data-ordinal_end="2"&gt;&lt;span data-paragraph-id="13678" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13678" data-sentence-id="13689" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="13678" data-sentence-id="13692" class="ldml-sentence"&gt;Offer and Acceptance of an Expert&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13726" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13726" data-sentence-id="13737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13737" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; contend that the majority below erred in
 concluding that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; require, as a
 condition of the admissibility of expert testimony, that the
 witness be formally tendered by &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; and admitted by &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; as an expert.&lt;/span&gt; &lt;span data-paragraph-id="13726" data-sentence-id="13993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14003" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14003" data-sentence-id="14014" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14014" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As an initial matter, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note, contrary to the majority's
 opinion below, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶¶ 33, 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that
 under &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_14014" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Venalonzo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14014" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_14014" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d at 873&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Dr.
 Harrison was testifying as an expert witness because, as &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; and all &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; below appear to have agreed, his
 testimony was indisputably based on &lt;span class="ldml-quotation quote"&gt;"specialized
 experiences, knowledge, or training."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14003" data-sentence-id="14377" class="ldml-sentence"&gt;The character of
 Dr. Harrison's testimony did not change merely because
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; did not formally tender and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not
 admit him as an expert.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14533" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14533" data-sentence-id="14544" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14544" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The question thus becomes whether Dr. Harrison's
 testimony was rendered inadmissible by the absence of a
 formal offer and acceptance of him as an expert.&lt;/span&gt; &lt;span data-paragraph-id="14533" data-sentence-id="14705" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude
 that it was not.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_14735" data-page_type="bare_number" data-val="13"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14735" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14735" data-sentence-id="14746" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14746" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As noted above, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s plain text requires that a
 witness be qualified as an expert based on knowledge, skill,
 training, or education and that the witness's testimony
 be helpful to the trier of fact.&lt;/span&gt; &lt;span data-paragraph-id="14735" data-sentence-id="14957" class="ldml-sentence"&gt;Our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; has further
 determined that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires that the scientific
 principles underlying the expert's testimony be
 reasonably reliable and that the evidence satisfy the
 requirements of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 403&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14735" data-sentence-id="15166" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Cooper&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15166" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/903166860" data-vids="903166860" class="ldml-reference" data-prop-ids="sentence_15166" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;496
 P.3d at 432&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15166" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;22 P.3d at 77-79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14735" data-sentence-id="15227" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; perceive
 nothing in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s express language or in our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;
 that requires that an expert witness be formally offered and
 accepted as a condition of admissibility, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline to
 adopt such a requirement now.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15451" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15451" data-sentence-id="15462" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15462" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are not persuaded otherwise by Martinez's contention
 that the word &lt;span class="ldml-quotation quote"&gt;"qualified"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; implies an
 offer and acceptance requirement because, in his view, it is
 used as a verb requiring action to qualify the witness.&lt;/span&gt; &lt;span data-paragraph-id="15451" data-sentence-id="15690" class="ldml-sentence"&gt;To
 the contrary, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; uses the word &lt;span class="ldml-quotation quote"&gt;"qualified"&lt;/span&gt; as
 an adjective modifying the word &lt;span class="ldml-quotation quote"&gt;"witness."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="15451" data-sentence-id="15789" class="ldml-sentence"&gt;Specifically, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s plain language, witnesses
 are &lt;span class="ldml-quotation quote"&gt;"qualified"&lt;/span&gt; when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have certain
 qualifications, namely, knowledge, skill, experience,
 training, or education in the field in which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; will offer
 opinion testimony.&lt;/span&gt; &lt;span data-paragraph-id="15451" data-sentence-id="16022" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_16049,sentence_15789" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;22 P.3d at 78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt;
 that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15789" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires a determination as to, among other
 things, &lt;span class="ldml-quotation quote"&gt;"the qualifications of the witness"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-signal"&gt;s&lt;em class="ldml-emphasis"&gt;ee also&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891965607" data-vids="891965607" class="ldml-reference" data-prop-ids="embeddedsentence_16225,sentence_15789" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Melville v. Southward&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;791 P.2d 383, 387&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must determine, among
 other things, &lt;span class="ldml-quotation quote"&gt;"whether the witness is properly qualified
 by knowledge, skill, experience,

&lt;span class="ldml-pagenumber" data-id="pagenumber_16364" data-page_type="bare_number" data-val="14"&gt;&lt;/span&gt;
 training, or education, to offer an opinion on the issue in
 question"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15451" data-sentence-id="16439" class="ldml-sentence"&gt;Thus, the word &lt;span class="ldml-quotation quote"&gt;"qualified"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE
 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not refer to an action taken by &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15451" data-sentence-id="16538" class="ldml-sentence"&gt;Rather, it refers to a quality of the witness.&lt;/span&gt; &lt;span data-paragraph-id="15451" data-sentence-id="16585" class="ldml-sentence"&gt;In
 other words, a witness is not qualified &lt;em class="ldml-emphasis"&gt;by&lt;/em&gt; &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;
 or &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;, but rather a witness is qualified &lt;em class="ldml-emphasis"&gt;because
 of&lt;/em&gt; their &lt;span class="ldml-quotation quote"&gt;"knowledge, skill, experience, training,
 or education."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15451" data-sentence-id="16762" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16585" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16771" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16771" data-sentence-id="16782" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16782" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; likewise are unpersuaded by Martinez's citation to
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; from &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; interprets as requiring that an
 expert witness be formally offered and accepted as a
 condition of admissibility.&lt;/span&gt; &lt;span data-paragraph-id="16771" data-sentence-id="16986" class="ldml-sentence"&gt;Contrary to Martinez's
 assertions, none of &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt; on which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; relies addressed
 the issue now before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, and, in any event, &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt; are
 distinguishable on their facts.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17161" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17161" data-sentence-id="17172" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17172" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For example, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_17172" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Stewart&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d 107, 124&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; said that a witness &lt;span class="ldml-quotation quote"&gt;"must be properly
 qualified as an expert before offering testimony that amounts
 to expert testimony."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17161" data-sentence-id="17370" class="ldml-sentence"&gt;Similarly, in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_17370" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Venalonzo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17370" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_17370" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d at 871&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; noted that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had
 &lt;span class="ldml-quotation quote"&gt;"declined to require &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to qualify &lt;span class="ldml-parenthetical"&gt;[a forensic]&lt;/span&gt;
 interviewer as an expert."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17161" data-sentence-id="17537" class="ldml-sentence"&gt;And in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891236934" data-vids="891236934" class="ldml-reference" data-prop-ids="sentence_17537" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Ramos&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2017 CO 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17537" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891236934" data-vids="891236934" class="ldml-reference" data-prop-ids="sentence_17537" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d 888, 890&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 affirmed &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; division's holding that
 &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; abused its discretion by not qualifying
 the police detective's blood testimony as expert
 testimony."&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_17776" data-page_type="bare_number" data-val="15"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17776" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17776" data-sentence-id="17787" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17787" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt;, however, did not make these statements in the context of
 addressing whether the formal offer and acceptance of an
 expert was a condition of admissibility.&lt;/span&gt; &lt;span data-paragraph-id="17776" data-sentence-id="17952" class="ldml-sentence"&gt;Indeed, none of
 &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt; presented that issue.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18003" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18003" data-sentence-id="18014" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18014" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In any event, &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt; on which Martinez relies are
 distinguishable from &lt;span class="ldml-entity"&gt;the present case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18003" data-sentence-id="18112" class="ldml-sentence"&gt;Specifically,
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_18112" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Stewart&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_18112" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Venalonzo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891236934" data-vids="891236934" class="ldml-reference" data-prop-ids="sentence_18112" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ramos&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; all
 involved scenarios in which what is essentially expert
 testimony was improperly admitted in the guise of lay
 opinion.&lt;/span&gt; &lt;span data-paragraph-id="18003" data-sentence-id="18282" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Ramos&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18282" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18282" data-refglobal="case:388p3d891" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d 891&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_18282" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Venalonzo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18282" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_18282" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d at 877&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_18282" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Stewart&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d at 123&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18003" data-sentence-id="18371" class="ldml-sentence"&gt;In each of &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt;, a
 witness was characterized as a fact or lay witness by &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, but then the witness offered
 what was ultimately determined to be expert testimony.&lt;/span&gt;
&lt;span data-paragraph-id="18003" data-sentence-id="18575" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Ramos&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18575" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 9-11, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891236934" data-vids="891236934" class="ldml-reference" data-prop-ids="sentence_18575" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d at 890-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_18575" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Venalonzo&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18575" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶¶ 5-7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 26-31, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_18575" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d at
 871-72, 875-77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_18575" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Stewart&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d at 122-24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="18003" data-sentence-id="18701" class="ldml-sentence"&gt;Moreover, because the witnesses were proffered as fact
 witnesses, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; in &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt; did not make any of the
 pretrial disclosures required of expert testimony, thereby
 depriving &lt;span class="ldml-entity"&gt;the defendants&lt;/span&gt; of, among other things, an
 opportunity to obtain their own expert witnesses.&lt;/span&gt; &lt;span data-paragraph-id="18003" data-sentence-id="18982" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See
 Venalonzo&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18982" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891240863" data-vids="891240863" class="ldml-reference" data-prop-ids="sentence_18982" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;388 P.3d at 881&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that, if
 &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had the benefit of pretrial disclosure of the
 forensic interviewer's expert testimony and the bases for
 her opinions, then &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have had an opportunity to
 evaluate her testimony in advance of trial or to obtain his
 own expert witness&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_18982" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Stewart&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d at 123&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;observing&lt;/span&gt; that admitting expert testimony in the guise of
 lay testimony subverts the disclosure and

&lt;span class="ldml-pagenumber" data-id="pagenumber_19424" data-page_type="bare_number" data-val="16"&gt;&lt;/span&gt;
 discovery requirements of the applicable rules, as well as
 the reliability requirements for expert testimony)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19538" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19538" data-sentence-id="19549" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19549" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Our concern in &lt;span class="ldml-entity"&gt;these cases&lt;/span&gt; regarding the absence of the
 required expert disclosures and the denial of the other
 procedural protections afforded by the applicable rules of
 criminal procedure is not an issue in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19538" data-sentence-id="19777" class="ldml-sentence"&gt;Here, unlike
 in the above-described &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; did not attempt to
 evade expert witness disclosure requirements, nor did &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 call an expert witness in the guise of a lay witness.&lt;/span&gt; &lt;span data-paragraph-id="19538" data-sentence-id="19966" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;Cf.&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885883480" data-vids="885883480" class="ldml-reference" data-prop-ids="sentence_19777" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Stewart&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;55 P.3d at 123 n.10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19538" data-sentence-id="20000" class="ldml-sentence"&gt;To the contrary, &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; at all times treated Dr. Harrison as an
 expert, and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; substantially complied with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20000" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s disclosure requirements.&lt;/span&gt; &lt;span data-paragraph-id="19538" data-sentence-id="20182" class="ldml-sentence"&gt;Indeed, Martinez appears to
 have received Dr. Harrison's expert report over a year
 before trial, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was able to use that report in framing
 objections to the scope of Dr. Harrison's testimony.&lt;/span&gt; &lt;span data-paragraph-id="19538" data-sentence-id="20381" class="ldml-sentence"&gt;And
 Martinez had every opportunity to retain his own expert,
 which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did, although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; ultimately declined to call her at
 trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20513" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20513" data-sentence-id="20524" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20524" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For similar reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are unpersuaded by Martinez's
 reliance on language in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895459728" data-vids="895459728" class="ldml-reference" data-prop-ids="sentence_20524" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Farley v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;746 P.2d
 956&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; also characterizes as
 demonstrating that the formal offer and acceptance of an
 expert are required.&lt;/span&gt; &lt;span data-paragraph-id="20513" data-sentence-id="20765" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895459728" data-vids="895459728" class="ldml-reference" data-prop-ids="sentence_20765" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Farley&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;746 P.2d at 958&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; stated that it had accepted a witness as an
 expert, but &lt;span class="ldml-entity"&gt;we&lt;/span&gt; observed that the record did not support &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;'s recollection.&lt;/span&gt; &lt;span data-paragraph-id="20513" data-sentence-id="20938" class="ldml-sentence"&gt;It is in this context that &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 pointed out that the witness &lt;span class="ldml-quotation quote"&gt;"was neither offered nor

&lt;span class="ldml-pagenumber" data-id="pagenumber_21025" data-page_type="bare_number" data-val="17"&gt;&lt;/span&gt;
 accepted as an expert."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20513" data-sentence-id="21051" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895459728" data-vids="895459728" class="ldml-reference" data-prop-ids="sentence_20938" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20513" data-sentence-id="21055" class="ldml-sentence"&gt;In other words, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 were simply responding, as a factual matter, to what &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; had misremembered.&lt;/span&gt; &lt;span data-paragraph-id="20513" data-sentence-id="21164" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; did not address or opine in
 &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; on the necessity of a formal offer and acceptance
 of an expert witness.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21279" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21279" data-sentence-id="21290" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21290" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that, in supporting its conclusion that a
 formal offer and acceptance are required as a condition of
 the admissibility of expert testimony, the majority below
 relied on our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/934164596" data-vids="934164596" class="ldml-reference" data-prop-ids="sentence_21290" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Cooper&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21290" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/903166860" data-vids="903166860" class="ldml-reference" data-prop-ids="sentence_21290" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;496 P.3d
 at 431-32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21279" data-sentence-id="21534" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21290" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;¶¶ 43, 47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21279" data-sentence-id="21555" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;That case&lt;/span&gt;,
 too, is inapposite.&lt;/span&gt; &lt;span data-paragraph-id="21279" data-sentence-id="21587" class="ldml-sentence"&gt;In &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/934164596" data-vids="934164596" class="ldml-reference" data-prop-ids="sentence_21587" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Cooper&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21587" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/903166860" data-vids="903166860" class="ldml-reference" data-prop-ids="sentence_21587" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;496 P.3d at
 431-32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; began by noting the general principle that &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; must act as a gatekeeper to ensure that expert
 testimony is not admitted unless it is both reliable and
 relevant.&lt;/span&gt; &lt;span data-paragraph-id="21279" data-sentence-id="21803" class="ldml-sentence"&gt;Nothing in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/934164596" data-vids="934164596" class="ldml-reference" data-prop-ids="sentence_21803" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Cooper&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, however, suggested that
 &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; must formally offer and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must formally
 accept a witness as an expert before the witness may testify.&lt;/span&gt;
&lt;span data-paragraph-id="21279" data-sentence-id="21966" class="ldml-sentence"&gt;In discussing &lt;span class="ldml-entity"&gt;the trial courts&lt;/span&gt;' gatekeeper function, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 were simply reiterating the settled principle that &lt;span class="ldml-entity"&gt;trial
 courts&lt;/span&gt; are responsible for ensuring that expert testimony
 satisfies the requirements of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21966" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="21279" data-sentence-id="22190" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Cooper&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22190" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/903166860" data-vids="903166860" class="ldml-reference" data-prop-ids="sentence_22190" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;496 P.3d at 431-32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22227" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22227" data-sentence-id="22238" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22238" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; calling an expert
 witness need not formally offer, and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; need not
 formally accept, the witness as an expert as a condition of
 the admissibility of the expert's testimony.&lt;/span&gt; &lt;span data-paragraph-id="22227" data-sentence-id="22475" class="ldml-sentence"&gt;Accordingly,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the majority below erred in imposing such a
 requirement.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_22564" data-page_type="bare_number" data-val="18"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22564" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22564" data-sentence-id="22575" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22575" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In so concluding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hasten to add that a formal offer and
 acceptance of an expert are not prohibited, either.&lt;/span&gt; &lt;span data-paragraph-id="22564" data-sentence-id="22692" class="ldml-sentence"&gt;Indeed,
 it is often good practice for &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; to tender an expert in
 a particular field and for &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to make findings,
 whether before or during trial, as to that expert's
 qualifications and the proper scope of the expert's
 testimony.&lt;/span&gt; &lt;span data-paragraph-id="22564" data-sentence-id="22942" class="ldml-sentence"&gt;Such findings can clarify for &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; and
 perhaps the jurors the proper limits of the expert's
 testimony.&lt;/span&gt; &lt;span data-paragraph-id="22564" data-sentence-id="23054" class="ldml-sentence"&gt;Nonetheless, when, as here, no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; objects to
 the admissibility of the proffered expert's testimony,
 the lack of findings on the record will not necessarily
 render the expert testimony inadmissible.&lt;/span&gt; &lt;span data-paragraph-id="22564" data-sentence-id="23258" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888048736" data-vids="888048736" class="ldml-reference" data-prop-ids="sentence_23054" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ruibal v.
 People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO 93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23054" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888048736" data-vids="888048736" class="ldml-reference" data-prop-ids="embeddedsentence_23318" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;432 P.3d 590, 593&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;citing
 prior &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; for &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;em class="ldml-emphasis"&gt;where a
 proper challenge has been raised&lt;/em&gt;, &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;'is
 required to issue specific findings'&lt;/span&gt; as to relevance and
 reliability under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894785282" data-vids="894785282" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Rector&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;248 P.3d 1196, 1200&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23594" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23594" data-sentence-id="23605" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23605" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In reaching our &lt;span class="ldml-entity"&gt;conclusion in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; recognize that
 for many trial judges and lawyers, the practice of having &lt;span class="ldml-entity"&gt;a
 party&lt;/span&gt; formally tender and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; formally accept an expert
 has become routine, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not intend to suggest that this
 procedure is categorically improper.&lt;/span&gt; &lt;span data-paragraph-id="23594" data-sentence-id="23894" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further recognize,
 however, that in a given case, opposing &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, as a matter
 of sound trial strategy, might not want &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; to
 endorse the witness's expertise before the jury.&lt;/span&gt; &lt;span data-paragraph-id="23594" data-sentence-id="24088" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 fully understand why many trial judges prefer not to do so
 &lt;span class="ldml-parenthetical"&gt;(hence, rather than

&lt;span class="ldml-pagenumber" data-id="pagenumber_24178" data-page_type="bare_number" data-val="19"&gt;&lt;/span&gt;
 informing the jury that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; will accept the witness as
 an expert in a given field, many trial judges prefer to
 announce that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; will allow the witness to offer
 opinion testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the rule governing expert
 testimony, as &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did here)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24457" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24457" data-sentence-id="24468" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24468" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; perceive no reason to dictate a procedure that trial
 judges and lawyers must follow in all circumstances.&lt;/span&gt; &lt;span data-paragraph-id="24457" data-sentence-id="24582" class="ldml-sentence"&gt;It
 suffices for &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to say that &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; proffering expert
 testimony is obliged to comply with the procedural rules
 governing such testimony and to lay a proper foundation for
 that testimony.&lt;/span&gt; &lt;span data-paragraph-id="24457" data-sentence-id="24776" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt;, in turn, is responsible for
 ensuring that admitted expert testimony complies with the
 requirements of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24776" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; and that the
 proffering &lt;span class="ldml-entity"&gt;party&lt;/span&gt; adhered to the applicable procedural rules,
 so as not to prejudice the opposing &lt;span class="ldml-entity"&gt;party&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24457" data-sentence-id="25035" class="ldml-sentence"&gt;Whether errors in
 any of these regards require reversal will depend on the
 specific circumstances of a given case.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="conclusion" data-content-heading-label="
 III.
Conclusion
" data-confidences="very_high" data-parsed="true" data-id="heading_25152" data-format="upper_case_roman_numeral" data-specifier="III" data-value="III.
 Conclusion" data-ordinal_start="3" id="heading_25152" data-ordinal_end="3"&gt;&lt;span data-paragraph-id="25152" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="25152" data-sentence-id="25163" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="25152" data-sentence-id="25168" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="25179" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25179" data-sentence-id="25190" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25190" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;
 do not require that &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; formally offer and that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;
 formally accept a witness as an expert as a condition of the
 admissibility of proffered expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="25179" data-sentence-id="25425" class="ldml-sentence"&gt;To the contrary,
 when expert testimony meets the requirements of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25425" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Shreck&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, the lack of a formal offer and acceptance of
 the expert does not necessarily render the expert's
 testimony inadmissible.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-id="pagenumber_25634" data-page_type="bare_number" data-val="20"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25634" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25634" data-sentence-id="25645" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25645" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Applying these principles here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; did not err, much less plainly err, in admitting Dr.
 Harrison's expert testimony despite the fact that &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; did not formally offer and &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not
 formally accept him as an expert witness.&lt;/span&gt; &lt;span data-paragraph-id="25634" data-sentence-id="25926" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore
 reverse the judgment of the division below and remand &lt;span class="ldml-entity"&gt;this
 case&lt;/span&gt; to allow the division to address the issues that
 Martinez raised below and that the division, in light of its
 determination, did not reach.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;